          Case 23-34815 Document 460 Filed in TXSB on 06/10/24 Page 1 of 7




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

IN RE:                                           §
                                                 §          CASE NO: 23-34815
GALLERIA 2425 OWNER,                             §
LLC,                                             §
                                                 §          CHAPTER 11
Debtor.                                          §


          OBJECTION TO GALLERIA 2524 OWNER LLC AND 2425 WL, LLC’S
                   PROPOSED CHAPTER 11 PLAN [DKT. 377]

       Rodney Drinnon (hereinafter “Drinnon”) hereby files this Objection (“Objection”) to

Galleria 2524 Owner LLC and 2425 WL, LLC’s Fifth Amended Joint Chapter 11 Plan of

Reorganization [Dkt. 377] (the “Plan”) in the above referenced case and states as follows:

                                      BASIS FOR CLAIM

       1.      Drinnon holds a claim that is partially secured and partially unsecured. Rodney

Drinnon’s address is 2000 West Loop S, Ste. 1850, Houston, Texas 77027. His phone number is

832-533-8689. His email address is rdrinnon@mccathernlaw.com

       2.      Drinnon has a secured claim in the amount of SIXTY-THREE THOUSAND

SEVEN HUNDRED AND TWENTY-FIVE DOLLARS AND ZERO CENTRS ($63,725.00) and

an unsecured claim in the amount of TWO HUNDRED AND THIRTEEN THOUSAND SEVEN

HUNDRED AND TWENTY-FIVE DOLLARS AND ZERO CENTS ($213,725.00) arising from

a final judgment against Galleria 2425 Owner, LLC executed on February 22, 2024 by the

Honorable Christine Weems in Cause No. 2023-22748 Galleria 2425 Owner, LLC v National Bank

of Kuwait, S.A.K.P., New York Branch, et al in the 281st Judicial District of Harris County, Texas.

       3.      Drinnon timely filed his proof of claim on February 26, 2024.




                                                1
          Case 23-34815 Document 460 Filed in TXSB on 06/10/24 Page 2 of 7




                                        GROUNDS FOR OBJECTION

         4.       According to 11 U.S.C. § 1128(b), a party in interest may object to the confirmation

of a plan. As set forth above, Drinnon holds a final judgment against Debtor and timely filed his

proof of claim, becoming both a secured and unsecured creditor against Debtor.

         5.       Article VI of the proposed Plan divides the claims into nine (9) various classes.

Bad Faith

         6.       There is no class that includes Drinnon’s secured claim. None of the classes

contains a description of secured claims that would include Drinnon’s claim. This should at least

require an amendment or modification.

         7.       Article VII explicitly states that “All classes are impaired by the Plan… except for

Class 1.” 11 U.S.C § 1129(a)(10) requires that if a class of claims is impaired under the plan, at

least one class of claims that is impaired under the plan has accepted the plan. In re Dernick, 624

B.R. 799, 808 (Bankr. S.D. Tex. 2020) (internal quotations omitted). The way this Plan is

structured, 2425 WL, LLC is Class 6 on its own and is listed as an Insider under Exhibit A to the

Plan. 1 Under 11 U.S.C. § 1126(c), a plan is accepted by a class of claims if “at least one-half of

the claims holding two-thirds of the total dollar amount ... vote in favor.” Id. Therefore, 2425 WL,

LLC can accept the Plan and it meets the requirements of Section 1126.

         8.       The good faith requirement was designed to eliminate those “obstructive tactics and

holdup techniques” employed by some creditors to secure an unfair advantage through acceptance

or rejection of the plan. In re Landing Assocs., Ltd., 157 B.R. 791, 802 (Bankr. W.D. Tex. 1993)

(citing Young v. Higbee Co., 324 U.S. 202, 212 n. 10 (1945)). The Plan as outlined is prohibited


1
 An inference of bad faith might be stronger where a debtor creates an impaired accepting class out of whole cloth
by incurring a debt with a related party, particularly if there is evidence that the lending transaction is a sham. In re
Vill. at Camp Bowie I, L.P., 710 F.3d 239, 248 (5th Cir. 2013).



                                                            2
            Case 23-34815 Document 460 Filed in TXSB on 06/10/24 Page 3 of 7




and is in bad faith as 2425 WL, LLC is one of those entities who filed this Plan, violating 11 U.S.C.

§ 1129(b)(2)(A) as well as leaving out multiple secured creditors, 2 including Drinnon.

Best Interest

           9.       11 U.S.C. § 1129(a)(7)(A)(ii) states that each holder of a claim will receive or retain

under the plan on account of such claim or interest property of a value, as of the effective date of

the plan, that is not less than the amount that such holder would so receive or retain if the debtor

were liquidated under Chapter 7 of this title on such date. In re Landing Assocs., Ltd., 157 B.R.

791, 818 (Bankr. W.D. Tex. 1993).

           10.      As Drinnon’s secured claim is not listed, Drinnon would fare better under

liquidation because of the Plan’s silence.

           11.      Therefore, in light of the omittance of a class of claims and the claim of 2425 WL,

LLC, an Insider, is in its own class, the Plan on its face is not feasible, filed in bad faith, and should

be denied. Further, Drinnon incorporates by reference the objections of Arin-Air, Inc. [Dkt. No.

410] and National Bank of Kuwait, S.A.K.P. New York Branch’s Objections [Dkt. No. 457].

           WHEREFORE, Creditor Rodney Drinnon respectfully prays that the Court deny

confirmation of the Plan and all other relief to which he is justly entitled.

                                                   Respectfully submitted,

                                                   MCCATHERN HOUSTON

                                                   By: /s/ Rodney L. Drinnon
                                                   Rodney L. Drinnon
                                                   Federal Bar No. 6059446
                                                   Texas Bar No. 24047841
                                                   rdrinnon@mccathernlaw.com
                                                   2000 West Loop S., Suite 1850
                                                   Houston, Texas 77027
                                                   Tel. (832) 533-8689
                                                   Fax (832) 213-4842

2
    See Dkt. No. 410 by Arin-Air, Inc.


                                                      3
        Case 23-34815 Document 460 Filed in TXSB on 06/10/24 Page 4 of 7




                                             ATTORNEY FOR RODNEY DRINNON




OF COUNSEL:
MCCATHERN HOUSTON

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Houston, TX 77027
Tel. (832) 533-8689
Fax (832) 213-4842




                                CERTIFICATE OF SERVICE

         The undersigned certifies that on June 10, 2024, a true and correct copy of this document
was served via the Court’s CM/ECF system on the Chapter 11 Trustee, the Debtor’s counsel of
record and all others who are deemed to have consented to ECF electronic service, and by mailing,
first class, postage prepaid, to each of the parties on the attached mailing matrix.

                                                    /s/Rodney L. Drinnon
                                                    Rodney L. Drinnon




                                                4
                          Case 23-34815 Document 460 Filed in TXSB on 06/10/24 Page 5 of 7
Label Matrix for local noticing               2425 WL, LLC                            CC2 TX, LLC
0541-4                                        2425 West Loop South 11th floor         c/o Howard Marc Spector
Case 23-34815                                 Houston, TX 77027-4304                  Spector & Cox, PLLC
Southern District of Texas                                                            12770 Coit Road Suite 850
Houston                                                                               Dallas, TX 75251-1364
Mon Jun 3 15:55:13 CDT 2024
City of Houston                               Galleria 2425 Owner, LLC                (p)HARRIS COUNTY ATTORNEY’S OFFICE
Linebarger Goggan Blair & Sampson LLP         1001 West Loop South 700                P O BOX 2928
c/o Tara L. Grundemeier                       Houston, TX 77027-9084                  HOUSTON TX 77252-2928
PO Box 3064
Houston, TX 77253-3064

Hayward PLLC                                  Houston Community College System        Houston ISD
c/o Melissa Hayward                           Linebarger Goggan Blair & Sampson LLP   Linebarger Goggan Blair & Sampson LLP
10501 N. Central Expy., Ste. 106              c/o Tara L. Grundemeier                 c/o Tara L. Grundemeier
Dallas, TX 75231-2203                         PO Box 3064                             PO Box 3064
                                              Houston, TX 77253-3064                  Houston, TX 77253-3064

National Bank of Kuwait, S.A.K.P., New York   4                                       2425 WL, LLC
                                              United States Bankruptcy Court          13498 Pond Springs Rd.
                                              PO Box 61010                            Austin, TX 78729-4422
                                              Houston, TX 77208-1010


2425 West Loop, LLC                           ADT                                     Ali Choudhry
2000 Hughes Landing Blvd., Suite 815          PO Box 382109                           1001 West Loop South 700
The Woodlands, Texas 77380-4142               Pittsburgh, PA 15251-8109               Houston, TX 77027-9084



Arin-Air, Inc.                                Ash Automated Control Systems, LLC      CC2 TX, LLC
5710 Brittmoore Rd. #13                       PO Box 1113                             14800 Landmark Blvd., Suite 400
Houston, TX 77041-5627                        Fulshear, TX 77441-2013                 Dallas, TX 75254-7598



CFI Mechanical, Inc                           CNA Insurance Co                        Caz Creek Lending
6109 Brittmoore Rd                            PO Box 74007619                         118 Vintage Park Blvd No. W
Houston, TX 77041-5610                        Chicago, IL 60674-7619                  Houston, TX 77070-4095



Cirro Electric                                City of Houston                         City of Houston
PO Box 60004                                  PO Box 1560                             c/o Tara L. Grundemeier
Dallas, TX 75266                              Houston, TX 77251-1560                  Linebarger Goggan Blair & Sampson LLP
                                                                                      PO Box 3064
                                                                                      Houston, TX 77253-3064

Comcast                                       Datawatch Systems                       Environmental Coalition Inc
PO Box 60533                                  4520 East West Highway 200              PO Box 1568
City of Industry, CA 91716-0533               Bethesda, MD 20814-3382                 Stafford, TX 77497-1568



Ferguson Facilities Supplies                  Firetron                                (p)FIRST INSURANCE FUNDING
PO Box 200184                                 PO Box 1604                             450 SKOKIE BLVD SUITE 1000
San Antonio, TX 78220-0184                    Stafford, TX 77497-1604                 NORTHBROOK IL 60062-7917
                           Case 23-34815 Document 460 Filed in TXSB on 06/10/24 Page 6 of 7
Gulfstream Legal Group                      H.N.B. Construction, LLC                HNB Construction, LLC
1300 Texas St                               c/o Malcolm D. Dishongh                 521 Woodhaven
Houston, TX 77002-3509                      PO Box 2347                             Ingleside, TX 78362-4678
                                            Humble, TX 77347-2347


Hayward PLLC                                Houston Community College System        Houston ISD
c/o Melissa S. Hayward                      c/o Tara L. Grundemeier                 c/o Tara L. Grundemeier
10501 N. Central Expy., Ste. 106            Linebarger Goggan Blair & Sampson LLP   Linebarger Goggan Blair & Sampson LLP
Dallas, TX 75231-2203                       PO Box 3064                             PO Box 3064
                                            Houston, TX 77253-3064                  Houston, TX 77253-3064

Jetall Companies, Inc                       Kings 111 Emergency Communications      Lexitas
1001 West Loop South Ste 700                751 Canyon Drive, Suite 100             PO Box Box 734298 Dept 2012
Houston, TX 77027-9033                      Coppell, TX 75019-3857                  Dallas, TX 75373-4298



Lloyd E. Kelley                             Logix Fiber Networks                    MacGeorge Law Firm
2726 Bissonent Suite 240                    PO Box 734120                           2921 E 17th St Blgd D Suite 6
Houston, TX 77005-1352                      Dallas, TX 75373-4120                   Austin, TX 78702-1572



Mueller Water Treatment                     Naissance Galleria, LLC                 National Bank of Kuwait
1500 Sherwood Forest Dr.                    c/o Law Office of Nima Taherian         299 Park Ave. 17th Floor
Houston, TX 77043-3899                      701 N. Post Oak Rd. Ste 216             New York, NY 10171-0023
                                            Houston, TX 77024-3868


Nationwide Security                         Nichamoff Law Firm                      Rodney L. Drinnon
2425 W Loop S 300                           2444 Times Blvd 270                     2000 West Loop S, Ste. 1850,
Houston, TX 77027-4205                      Houston, TX 77005-3253                  Houston, Texas 77027-3744



TKE                                         U.S. Trustee’s Office                   US Retailers LLC d/b/a Cirro Energy
3100 Interstate North Cir SE 500            515 Rusk, Suite 3516                    Attention: Bankruptcy Department
Atlanta, GA 30339-2296                      Houston, Texas 77002-2604               PO Box 3606
                                                                                    Houston, TX 77253-3606


US Trustee                                  Waste Management                        Zindler Cleaning Service Co
Office of the US Trustee                    PO Box 660345                           2450 Fondren 113
515 Rusk Ave                                Dallas, TX 75266-0345                   Houston, TX 77063-2314
Ste 3516
Houston, TX 77002-2604

Ali Choudhri                                Christopher R Murray                    James Q. Pope
24256 West Loop South                       Jones Murray LLP                        The Pope Law Firm
11th Floor                                  602 Sawyer St                           6161 Savoy Drive
Houston, TX 77027                           Ste 400                                 Ste 1125
                                            Houston, TX 77007-7510                  Houston, TX 77036-3343

Reese W Baker                               Rodney Drinnon
Baker & Associates                          McCathern Houston
950 Echo Lane                               2000 W Loop S
Suite 300                                   Ste. 1850
Houston, TX 77024-2824                      Houston, TX 77027-3744
                              Case 23-34815 Document 460 Filed in TXSB on 06/10/24 Page 7 of 7

                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Harris County, ATTN: Property Tax Division           First Insurance Funding                              (d)Harris County Tax Assessor
Harris County Attorney’s Office                      450 Skokie Blvd                                      PO Box 4622
P.O. Box 2928                                        Northbrook, IL 60062                                 Houston, TX 77210
Houston, TX 77252-2928 United States


(d)Harris County, et al
PO Box 2928
Houston, TX 77252




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)2425 West Loop, LLC                               (u)Sonder USA Inc.                                   (d)Arin-Air, LLC
                                                                                                          5710 Brittmoore Rd. #13
                                                                                                          Houston, TX 77041-5627



(du)Sonder USA Inc.                                  (u)Azeemeh Zaheer                                    (u)Jack Rose




End of Label Matrix
Mailable recipients      58
Bypassed recipients       6
Total                    64
